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   12                         UNITED STATES DISTRICT COURT
   13                     CENTRAL DISTRICT OF CALIFORNIA
   14   DENA WENKUNAS,                   ) Case No. 2:20-cv-11732-MWF-PD
                                         )
   15                    Plaintiff,      ) JUDGMENT OF REMAND
                                         )
   16       v.                           )
                                         )
   17   KILOLO KIJAKAZI, Acting          )
        Commissioner of Social Security, )
   18                                    )
                         Defendant.      )
   19                                    )
   20         The Court having approved the parties’ Stipulation to Voluntary Remand
   21   Pursuant to Sentence Four of 42 U.S.C. § 405(g) and to Entry of Judgment
   22   (“Stipulation to Remand”) lodged concurrently with the lodging of the within
   23   Judgment of Remand, IT IS HEREBY ORDERED, ADJUDGED AND
   24   DECREED that the above-captioned action is remanded to the Commissioner of
   25   Social Security for further proceedings consistent with the Stipulation to Remand.
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   28
        DATED: November 16, 2021
                                        MICHAEL W. FITZGERALD
                                        United States District Judge
